Case 3:17-cv-00072-NKM-JCH Document 90 Filed 11/09/17 Page 1 of 1 Pageid#: 346
                                                                                        11/9/2017

                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                    CHARLOTTESVILLE DIVISION


  ELIZABETH SINES, ET AL.,                           CASE NO. 3:17-CV-00072
                                 Plaintiffs,
  v.                                                 ORDER
  JASON KESSLER, ET AL.,
                                                     JUDGE NORMAN K. MOON
                                 Defendants.



        This matter is before the Court on Defendant Nathan Damigo’s motion for an extension

 of time to reply to the complaint while he obtains counsel. Defendant also requests an extension

 on behalf of Identity Europa, Inc. Identity Europa is a separate defendant to this action, but

 appears to be an organization founded by Defendant Damigo. (See dkt. 1 at ¶29). This Court

 has the authority to grant an extension, for good cause, under Fed. R. Civ. P. 6(b)(1). Courts

 have held that the need to provide parties time to find counsel provides good cause for a Rule

 6(b)(1) extension. See Sherrod v. Breitbart, 720 F.3d 932, 937 (D.C. Cir. 2013) (“As grounds

 for the thirty-day extension, the motion stated that O’Connor had only recently retained

 counsel.”). The Court will grant both Defendants a further fourteen days to file their answers so

 that they may acquire counsel. Defendant’s motion is GRANTED.

        It is ORDERED that Defendant Damigo’s answer is now due on November 27, 2017 and

 Defendant Identity Europa’s answer is now due on November 29, 2017. The Clerk of the Court

 is hereby directed to send a certified copy of this Order to Plaintiffs, Defendants, and all counsel

 of record.

                      9th day of November, 2017.
        Entered this _____
